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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  AMARIN PHARMA, INC., AMARIN                  )
  PHARMACEUTICALS IRELAND                      )
  LIMITED, and MOCHIDA                         )         C.A. No. 20-1630-RGA-SRF
  PHARMACEUTICAL CO. LTD.,                     )
                                               )
                    Plaintiffs,                )
                                               )
  v.                                           )
                                               )
  HIKMA PHARMACEUTICALS USA                    )
  INC. and HIKMA PHARMACEUTICALS               )
  PLC,                                         )
                                               )
                    Defendants.                )

                                    NOTICE OF SERVICE

          PLEASE TAKE NOTICE that on January 10, 2025, a true and correct copy of Plaintiffs’

 Supplemental Initial Infringement Contentions and Claim Charts was caused to be serve on the

 following counsel of record as indicated:

  BY ELECTRONIC MAIL                               BY ELECTRONIC MAIL
  Dominick T. Gattuso                              Eimeric Reig-Plessis
  Heyman Enerio Gattuso & Hirzel LLP               Winston & Strawn LLP
  300 Delaware Avenue, Suite 200                   101 California Street
  Wilmington, DE 19801                             San Francisco, CA 94111

  BY ELECTRONIC MAIL                               BY ELECTRONIC MAIL
  Charles B. Klein                                 Alison M.King
  Claire A. Fundakowski                            Winston & Strawn LLP
  Winston & Strawn LLP                             35 W. Wacker Drive
  1901 L Street, N.W.                              Chicago, IL 60601
  Washington, DC 20036




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                                                 /s/ Kelly E. Farnan
 OF COUNSEL:                                     Kelly E. Farnan (#4395)
                                                 Richards, Layton & Finger
 Kourtney Mueller Merrill                        One Rodney Square
 Perkins Coie LLP                                920 North King Street
 1900 Sixteenth Street, Suite 1400               Wilmington, DE 19801
 Denver, Colorado 80202                          302-651-7700
 303.291.2300                                    farnan@rlf.com
 KMerrill@perkinscoie.com
                                                 Attorneys for Plaintiffs Amarin Pharma, Inc.,
 Lara J. Dueppen                                 Amarin Pharmaceuticals Ireland Limited,
 Perkins Coie LLP                                and Mochida Pharmaceutical Co., Ltd.
 633 W. 5th Street, Suite 5850
 Los Angeles, CA 90071
 310.788.9900
 LDueppen@perkinscoie.com

 Maria A. Stubbings
 Perkins Coie LLP
 700 13th Street, NW, Suite 800
 Washington, DC 20005
 202.654.6200
 MStubbings@perkinscoie.com


  Dated: January 14, 2025




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